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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

RUBEN MARTINEZ                                    §
                                                  §
         Plaintiff,                               §
                                                  §
VS.                                               §          CIVIL ACTION NO. 5:18-CV-471-FB
                                                  §
SOUTH SAN ANTONIO INDEPENDENT                     §
SCHOOL DISTRICT,                                  §
                                                  §
         Defendant.                               §

                  PLAINTIFF’S REPORT ON ALTERNATIVE DISPUTE RESOLUTION

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW Elka Vargas-Rodriguez, Plaintiff in the above-styled and numbered cause of action,

and pursuant to Rule CV-88 of the Local Rules of the United States District Court for the Western District

of Texas and the Scheduling Order issued in this matter, files this his Report on Alternative Dispute

Resolution and would respectfully show unto the Court as follows:

                                                       I.

         In accordance with the Scheduling Order, Plaintiff’s written offer of settlement is due on August 15

, 2018

                                                      II.

         The persons responsible for settlement negotiations are Ruben Martinez, Plaintiff and Plaintiff’s

Counsel of Record.

                                                      III.

         Plaintiff is amenable to mediation at any step of the case or proceedings, including the present.

                                                      IV.

         Plaintiff has been notified of the ADR procedures available in the United States District Court for
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the Western District of Texas.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully files this his Report on

Alternative Dispute Resolution.

                                     Respectfully Submitted,



                                     By: /s/ Alan Braun

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                                     ATTORNEYS FOR PLAINTIFF
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on the 15h day August 2018, electronically filed the foregoing with the Clerk
of the Court using CM/ECF system and served on the following interested parties:

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       Walsh Gallegos Trevino Russo & Kyle P.C.
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                                                 /s/ Alan Braun
                                                 ALAN BRAUN
